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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

                    AMENDED ORDER OF THE EXECUTIVE COMMITTEE



       The Honorable Charles R. Norgle, Sr. has retired from regular active service as a United
States District Judge effective October 4, 2022.

        IT IS HEREBY ORDERED That the cases on the attached list are to be reassigned to the
other judges of this Court as indicated, pursuant to Local Rule 40.1(f).

       IT IS ALSO ORDERED That any case that was assigned to the Honorable Charles R.
Norgle, Sr. and may require further judicial action in the future, shall be reassigned by lot to a
judge of this Court.



                                         ENTER:
                              FOR THE EXECUTIVE COMMITTEE



                          ____________________________________
                            Hon. Rebecca R. Pallmeyer, Chief Judge


Dated at Chicago, Illinois this 6th day of October, 2022




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Civil Cases Reassigned from Judge Norgle to Judge Alonso

1:18-cv-03083                   Bilek v. National Congress of Employers, Inc.
1:19-cv-05863                   Pena v. Simms et al
1:19-cv-08062                   United States of America v. Henry
1:21-cv-03693                   International Union of Operating Engineers, Local 150,
                                AFL-CIO v. Metropolitan Steel, Inc., an Illinois Corporation
                                et al
1:21-cv-04404                   Coleman v. Wexford Health Sources, Inc et al
1:21-cv-06621                   Luxottica Group S.p.A. et al v. The Partnerships and
                                Unincorporated Associations Identified on Schedule "A"
1:22-cv-01544                   Hurley v. Navy Federal Credit Union et al
1:22-cv-03124                   James v. Dahm Enterprises, Inc et al
1:22-cv-03439                   Novotney v. Walgreen Co.
1:22-cv-03570                   Anderson v. Murphy et al
1:22-cv-03918                   Matt v. Convergent Outsourcing, Inc.
1:22-cv-04552                   McKinnie v. Dart et al

Civil Cases Reassigned from Judge Norgle to Judge Aspen

1:20-cv-02952                   Blackwood et al v. Westmont Hospitality Group et al
1:21-cv-06039                   Stuertz v. Horizon Therapeutics USA, Inc.
1:21-cv-06545                   Fox Valley & Vicinity Construction Workers Welfare Fund
                                et al v. Riley Construction Company, Inc.
1:22-cv-04000                   Moon v. JINS Eyewear US, Inc.
1:22-cv-04275                   Coss et al v. The Home Depot, Inc.

Civil Cases Reassigned from Judge Norgle to Judge Blakey

1:15-cv-05746                   United States of America v. Goldberg
1:15-cv-08940                   Gamon Plus, Inc. et al v. Campbell Soup Company et al
1:19-cv-04388                   Brister v. Wilkie
1:20-cv-00343                   Pitts v. Dart et al
1:20-cv-01915                   York Risk Services Group, Inc. v. Energi Insurance
                                Services, Inc.
1:20-cv-05096                   Pearson et al v. Community Unit School District No. 303 et
                                al
1:21-cv-04326                   Waltz v. National Car Cure, LLC et al
1:21-cv-04490                   Lantern Haus Co. et al v. Hoskins et al
1:21-cv-05657                   Heinstra v. United States Postal Services
1:22-cv-00403                   Ingraham v. Chrome Carriers Trucking, LLC et al
1:22-cv-01509                   Diesel Technologies LLC v. Aktiebolaget Volvo et al
1:22-cv-02652                   Byline Bank v. Wings Air Helicopters LLC et al
1:22-cv-04441                   ElMasry v. United States Department of State et al

Civil Cases Reassigned from Judge Norgle to Judge Bucklo

1:17-cv-06945                   Rito v. Berryhill
1:19-cv-06855                   Cooper v. Cooper
1:20-cv-03693                   Rice v. Will County Adult Detention Facillity et al
1:20-cv-05328                   Hankes et al v. Krapils, The Great Steak, Inc. et al

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1:20-cv-06212                   Medical Reimbursement Services, LLC v. Anzelmo
1:21-cv-05046                   McGraw v. Nestor
1:21-cv-06480                   Podkulski v. Hensey et al
1:22-cv-00838                   Greggs v. Kijakazi
1:22-cv-02221                   Smooky Moon 2, LLC v. The Entities and Individuals
                                Identified in Annex A
1:22-cv-04451                   SMART Local 265 Welfare Fund et al v. MZI Electric, Inc.
1:22-cv-00031                   Williams v. Home Depot

Civil Cases Reassigned from Judge Norgle to Judge Chang

1:18-cv-02337                   Taylor v. Commissioner of Social Security
1:19-cv-08477                   Witt v. Aramark Sports and Entertainment, LLC
1:20-cv-01406                   Pass v. Brannon
1:21-cv-03003                   Oak Creek Partners, LLC v. Environmental Products and
                                Services, Ltd.
1:21-cv-03565                   Lang v. Toyota Motor Corporation et al
1:21-cv-03749                   Oye v. Hartford Life And Accident Insurance Company
1:22-cv-00971                   Gaines v. Dart et al
1:22-cv-01896                   Cajamarca v. Ivo Peric d/b/a Andersonville Management et
                                al
1:22-cv-02853                   Ruiz-Garcia v. MATRIX4
1:22-cv-03273                   Allen v. Verizon
1:22-cv-03544                   Williams v. Team Nomad, LLC et al
1:22-cv-04255                   Magnifico v. Pete Buttigieg
1:22-cv-04449                   Great Bowery, Inc. v. Elite Orthopaedics & Sports Medicine
                                PLLC et al

Civil Cases Reassigned from Judge Norgle to Judge Coleman

1:16-cv-02887                   United States of America v. Gibson
1:17-cv-06903                   Colonial Surety Company v. Consulting Actuarial Group,
                                Inc
1:20-cv-03794                   Snyder et al v. Board of Education for Beecher School
                                District 201U et al
1:20-cv-06074                   Nolan v. Animal Welfare League
1:20-cv-06851                   Protesters in Support of Black Lives et al v. City of Chicago
                                et al
1:21-cv-03993                   Pastorik v. Edgcomb
1:21-cv-05743                   Unzueta v. Venditio Group, LLC
1:21-cv-06380                   Boss et al v. The Kraft Heinz Company et al
1:21-cv-06463                   Vernon v. Illinois Department of Corrections, The
1:21-cv-06612                   Ramos v. Nationwide Credit, Inc.
1:22-cv-01229                   Kielma v. Nakathomi Chicago, LLC et al
1:22-cv-02274                   Route Guidance Systems LLC v. HERE Global B.V
1:22-cv-04623                   Gorczyca et al v. Weber-Stephen Products LLC

Civil Cases Reassigned from Judge Norgle to Judge Durkin

1:18-cv-05988                   Gillam et al v. Abreu et al
1:19-cv-02611                   Rolfe et al v. Obaisi et al

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1:19-cv-06174                    Noour, Inc. v. Insurgent Brands, LLC et al
1:20-cv-05298                    Scott v. Village of Dolton et al
1:21-cv-03053                    International Union of Operating Engineers, Local 150,
                                 AFL-CIO v. Chicago Steel Construction, LLC et al
1:21-cv-04609                    24-7 Bright Star Healthcare, LLC v. Res-Care, Inc. d/b/a
                                 BrightSpring Health Services
1:21-cv-05514                    Namrod v. Acia KL Auto LLC Co
1:22-cv-01945                    Jones v. Regan
1:22-cv-03059                    Global IP Law Group, LLC v. Comcast Cable
                                 Communications LLC et al
1:22-cv-03342                    Burchett v. Pete's Fresh Foods Kedzie Corporation
1:22-cv-03369                    Granberry v. US Census Bureau
1:22-cv-04384                    Lukac et al v. Riddle et al

Civil Cases Reassigned from Judge Norgle to Judge Ellis

1:17-cv-06635                    Sullivan v. Obaisi
1:19-cv-00901                    InFlight Dublin, Inc. v. Astronics Corporation, et, al
1:20-cv-02369                    Wood v. Security Credit Services, LLC
1:20-cv-05461                    Campbell v. Latham, Star No. 60 et al
1:21-cv-02020                    Kozanecki v. Sogeti USA 2 Inc. a/k/a Capgemini, USA
                                 LLC.
1:21-cv-02597                    Brown et al v. Auto-Owners Insurance Company
1:21-cv-03543                    Williams Jr v. United States of America et al
1:21-cv-06659                    Freedom Home Care, Inc. v. Reif et al
1:22-cv-00533                    Rare Beauty, LLC v. RareBeauty Cosmetics LLC
1:22-cv-04051                    Kearney v. Roundy's Illinois, LLC., d/b/a Mariano's
1:22-cv-04144                    Washington v. Jefferson Capital Systems, LLC et al
1:22-cv-04185                    Garcia v. Property Pros Maintenance, Inc. et al
1:22-cv-04625                    Terry v. Kohl's, Inc.

Civil Cases Reassigned from Judge Norgle to Judge Gettleman

1:18-cv-06723                    Brighter Sky Productions, LLC et al v. Marriott
                                 International, Inc. et al
1:20-cv-02659                    Providence Condominium Association v. Travelers
                                 Indemnity Company of America
1:20-cv-04090                    Dennis v. The Andersons Inc.
1:21-cv-04777                    Hawkins v. City of Harvey
1:21-cv-05740                    Fiene et al v. Schweinzger
1:22-cv-01667                    Wenger Family Investments, LLC v. Insurance Company of
                                 Greater New York
1:22-cv-02109                    Abaxes LLC v. Nedeltchev et al
1:22-cv-03502                    BFG Corporation v. Venture Equipment, LLC et al
1:22-cv-04022                    EnchantedMob, Inc. v. The Partnerships and
                                 Unincorporated Associations Identified on Schedule A
1:22-cv-04090                    Smith et al v. Garland et al
1:22-cv-04501                    Spears v. Weltman, Weinberg, & Reis Co., LPA
1:22-cv-04565                    Tranquility IP LLC v. Cambium Networks, Inc.



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Civil Cases Reassigned from Judge Norgle to Judge Gottschall

1:20-cv-01221                   Ricchio v. Wilkie
1:21-cv-05358                   Central States, Southeast and Southwest Areas Health
                                and Welfare Fund et al v. C.N.B. Construction LLC
1:20-cv-07813                   DiFranco v. Yarbrough et al
1:22-cv-03936                   Chicago & Vicinity Laborers' District Council Pension Fund
                                et al v. Hugh Henry Inc.

Civil Cases Reassigned from Judge Norgle to Judge Guzman

1:18-cv-07215                   Johnson v. Jelinek et al
1:20-cv-03594                   Dobyne v. United States of America
1:22-cv-01050                   United States of America v. Sala
1:22-cv-04264                   Cohan v. Skyline CM Deerfield LLC
1:22-cv-04563                   Higgins et al v. Village of Lyons et al
1:19-cv-00683                   Macleod v. MidAmerican Energy Services, LLC et al

Civil Cases Reassigned from Judge Norgle to Judge Kendall

1:15-cv-10324                   St. Paul Guardian Insurance Company v. Walsh
                                Construction Company
1:17-cv-08839                   Herrera v. City of Chicago, a municipal corporation et al
1:19-cv-02965                   Trustees of the Chicago Regional Council of Carpenters
                                Pension Fund et al v. Drive Construction, Inc.
1:20-cv-04225                   Knox v. Johnson et al
1:20-cv-06133                   United States of America v. Austin
1:21-cv-03264                   Abo-Saif v. Hillcrest Property Management, Inc
1:21-cv-03351                   Bowes-Northern v. Chicago Police Department
1:21-cv-06714                   Figueroa et al v. #1 Deli, Inc. et al
1:22-cv-00665                   Deckers Outdoor Corporation v. The Partnerships and
                                Unincorporated Associations Identified on Schedule "A"
1:22-cv-04076                   Brown v. Trans Union LLC
1:22-cv-04190                   ABC Corporation v. The Partnerships and Unincorporated
                                Associations Identified On Schedule A
1:22-cv-04203                   Krackenberger v. Northwestern Memorial Hospital et al
1:21-cv-06683                   Love v. Commissioner of Social Security

Civil Cases Reassigned from Judge Norgle to Judge Kennelly

1:16-cv-05531                   United States of America v. Francies
1:17-cv-06452                   Israel v. Bucon et al
1:19-cv-07665                   Azar v. Grubhub Inc. et al
1:20-cv-03669                   USA v. Walker
1:20-cv-07168                   Hatch et al v. Wolters Kluwer United States, Inc. Health
                                Plan et al
1:22-cv-00539                   Beasley v. Actavis LLC f/k/a Actavis Inc., et al
1:22-cv-00949                   Chicago Title Land Trust, Trust No. 127632 et al v.
                                Chupack et al
1:22-cv-01721                   Navez v. DNF Associates, LLC


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1:22-cv-03023                   Trustees of the N.E.C.A. - IBEW Local 176 Health,
                                Welfare, Pension, Vacation, and Training Trust Funds v.
                                Green Electrical Contracting, Inc.
1:22-cv-04093                   Strike 3 Holdings, LLC v. Doe
1:22-cv-04411                   Holder v. Experian Information Solutions, Inc. et al

Civil Cases Reassigned from Judge Norgle to Judge Kness

1:20-cv-04257                   Griffin v. Pfister et al
1:20-cv-07807                   Webber v. State of Illinois et al
1:21-cv-02896                   Lezine v. Decowski et al
1:21-cv-04578                   Owens v. NuWave, LLC
1:21-cv-06213                   Finley v. Atlantic Bulk Carrier et al
1:22-cv-00460                   Hitterman v. Spike Enterprise, Inc.
1:22-cv-01670                   Helwig v. Walgreen Co. et al
1:22-cv-01786                   Hopkins v. Sterling Infosystems, Inc.
1:22-cv-02041                   Quinones v. Home Depot, U.S.A. Inc.
1:22-cv-02911                   Sharma v. Mayorkas et al
1:22-cv-03447                   Harmon v. Kijakazi
1:22-cv-04088                   Strike 3 Holdings, LLC v. John Doe, subscriber assigned
                                IP address 98.206.205.2

Civil Cases Reassigned from Judge Norgle to Judge Kocoras

1:11-cv-08808                   Kraft Foods Global, Inc. et al v. United Egg Producers, Inc.
                                et al
1:17-cv-04486                   Hueramo v. Wells et al
1:20-cv-02745                   R.C.M. Industries, Inc. v. AAA Sales & Engineering, Inc.
1:21-cv-03723                   Morris v. Chicago Central Pacific Railroad Company et al
1:21-cv-04890                   Hancock v. AAA Galvanizing - Peoria, Inc. et al
1:21-cv-06220                   Mercil v. Jewel Food Stores, Inc.
1:22-cv-02422                   Sawyer v. City of Chicago et al
1:22-cv-02492                   Russell et al v. Illinois Tool Works, Inc. et al
1:22-cv-02861                   Roberts et al v. Beyond Meat, Inc.
1:22-cv-03237                   Cook et al v. Golub & Company Realty, LLC et al
1:22-cv-03694                   Champagne v. City Of Chicago et al
1:22-cv-02813                   Pratt v. United Collection Bureau, Inc.

Civil Cases Reassigned from Judge Norgle to Judge Lefkow

1:18-cv-01396                   Lonzo v. Dryv, LLC
1:19-cv-00809                   Dunagan et al v. Illinois Institute of Art-Schaumburg, LLC
                                et al
1:21-cv-04419                   Pedroza v. Aramark Services, Inc. et al
1:21-cv-06936                   Kendziora v. Highland Park CVS, L.L.C. et al
1:22-cv-02062                   Morton v. Perry's Restaurants Ltd et al
1:22-cv-02564                   Buitron v. Trans Union LLC et al

Civil Cases Reassigned from Judge Norgle to Judge Leinenweber

1:20-cv-02112                   Libertarian Party of Illinois et al v. Pritzker et al

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1:21-cv-02567                   Sadowski v. Menard, Inc. et al
1:21-cv-03847                   Shenzhen Tomtop Technology Co., Ltd. et al v. Xie et al
1:22-cv-01810                   United States of America v. Suppressed
1:22-cv-02562                   Trustees of the Suburban Teamsters of Northern Illinois
                                Welfare and Pension Funds v. Marlene's Trucking
                                Transport, Inc.

Civil Cases Reassigned from Judge Norgle to Judge Maldonado

1:14-cv-00051                   Ayoubi v. Przybylo et al
1:20-cv-04889                   Dupree v. Dr. Patricia Burke
1:20-cv-07275                   Koronkiewicz et al
1:21-cv-05889                   Clevenger v. A.M. Castle & Co.
1:21-cv-06414                   Automobile Mechanics' Local No. 701 Union and Industry
                                Pension Fund et al v. Grayslake Autos, LLC d/b/a Rock
                                Chevrolet d/b/a Rockenbach Chevrolet et al
1:21-cv-06790                   Mujcinovic v. Aimbridge Hospitality, L.P.
1:22-cv-00289                   Rizvi v. J.S. Held LLC
1:22-cv-00513                   Miskowicz v. Blinken et al
1:22-cv-02646                   Bryant v. Adult Protective Services - Catholic Charities, et
                                al
1:22-cv-02727                   Bonilla v. National Container Group, LLC et al
1:22-cv-03664                   LL, Inc. v. Partnerships and unincorporated Associations
                                Identified in Schedule A
1:22-cv-01364                   Williams v. CW Nexus Credit Card Holdngs I, LLC

Civil Cases Reassigned from Judge Norgle to Judge Pacold

1:12-cv-01764                   Brown v. City Of Chicago et al
1:17-cv-01973                   Motorola Solutions, Inc. et al v. Hytera Communications
                                Corporation Ltd. et al
      1:19-cv-03371             Motorola Solutions, Inc. et al v. Hytera Communications
                                Corporation Ltd. et al
1:17-cv-06643                   Israel v. Israel
1:20-cv-07212                   KTM AG v. The Individuals, Corporations, Limited Liability
                                Companies, Partnerships, and Unincorporated
                                Associations Identified on Schedule A Hereto
1:20-cv-07434                   Ironshore Specialty Insurance Company v. Katherine
                                Shaw Bethea Hospital
1:21-cv-06827                   Sharif et al v. Michael et al
1:22-cv-01875                   Reed v. Anderson et al
1:22-cv-02346                   Central States, Southeast and Southwest Areas Pension
                                Fund et al v. Miller Pipeline, LLC
1:22-cv-02408                   La Galera Produce, LLC v. 8110 N. St. Louis, LLC d/b/a
                                Patel Brothers et al
1:22-cv-04025                   Jones v. Specialty Promotions, Inc.
1:22-cv-04622                   Price v. Equifax Information Services, LLC et al

Civil Cases Reassigned from Judge Norgle to Chief Judge Pallmeyer

1:20-cv-01171                   Eberhardt v. Village of Tinley Park et al

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1:21-cv-05353                   NPM Venture LLC v. City of Chicago et al
1:21-cv-05905                   Davis v. Home Depot, U.S.A., Inc.
1:22-cv-00869                   Hamed v. Majorkas et al
1:22-cv-02514                   Reed v. Napleton Aurora Imports, Inc. et al
1:22-cv-03245                   Fiallo v. Some's Uniforms Inc.

Civil Cases Reassigned from Judge Norgle to Judge Rowland

1:16-cv-02606                   Ball v. The City of Chicago Department of Police et al
1:18-cv-04678                   Parham et al v. Lakeview Loan Servicing, LLC et al
1:19-cv-08166                   Allianz Global Corporate & Specialty SE et al v. Western
                                Flyer Express, LLC
1:20-cv-07158                   Lafreniere et al v. R.R. Donnelley & Sons, Inc et al
1:21-cv-04185                   Clarke et al v. Aveda Corporation
1:22-cv-00256                   Motorola Mobility LLC v. Maxell, Ltd.
1:22-cv-01098                   Shahu v. United States Citizenship And Immigration
                                Services, The
1:22-cv-03633                   Radhakrishinan et al v. Jaddou
1:22-cv-03968                   Luckett v. Wintrust Financial Corp. et al
1:22-cv-03995                   Cohan v. MHF DTS VI, LLC
1:22-cv-04521                   United Specialty Insurance Company v. LG Express
                                Group, Inc.
1:22-cv-04575                   Cooks v. Lyft, Inc. et al

Civil Cases Reassigned from Judge Norgle to Judge Seeger

1:18-cv-03661                   Sharma v. Advanced Medical Billing, Inc. et al
1:19-cv-00114                   White v. United Airlines, Inc. et al
1:20-cv-03720                   John Doe v. The Individuals, Corporations, Limited Liability
                                Companies, Partnerships and Unincorporated Associations
                                Identified on Schedule A Hereto
1:20-cv-07353                   Smith v. Howard et al
       1:21-cv-02328            Smith Jr v. Yoksoulian et al
1:21-cv-06243                   Gonzalez v. Rodriguez et al
1:21-cv-06457                   Manna v. Knowles et al
1:22-cv-01848                   Forsberg v. Kijakazi
1:22-cv-02283                   Ochoa v. City of Chicago et al
1:22-cv-03399                   Westchester Fire Insurance Company, et al v. Whiting
                                Corporation, et al
1:22-cv-03985                   Aguilar v. KB 786, Inc.
1:22-cv-04333                   James v. U.S. Government's David Burke

Civil Cases Reassigned from Judge Norgle to Judge Shah

1:15-cv-08569                   Bell v. Wexford Health Source Inc et al
1:16-cv-06400                   United States of America v. Walker
1:20-cv-00014                   Poole v. Aguinaldo et al
1:20-cv-04885                   Lloyd v. Joshi et al
       1:21-cv-02782            Lloyd v. Joshi, et. al.
1:20-cv-06240                   Mason v. Takeda Pharmaceuticals, U.S.A., Inc. et al
1:21-cv-05425                   Talley et al v. The Housing Authority of Cook County et al

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1:21-cv-06212                   Heags v. Department of Veterans Affairs
1:22-cv-00548                   Dawson v. Village of Dolton
1:22-cv-01349                   Hopkins et al v. Stericycle
1:22-cv-02582                   Srugo v. Harris
1:22-cv-02677                   Guangzhou Caizhi E-Commerce Co., Ltd. v. Framar
                                International, Inc. et al
1:22-cv-04154                   Wenting Qi v. THE PARTNERSHIPS AND
                                UNINCORPORATED ASSOCIATIONS IDENTIFIED ON
                                SCHEDULE A

Civil Cases Reassigned from Judge Norgle to Judge Tharp

1:18-cv-00497                   Minor v. John Doe et al
1:18-cv-06790                   Holwill v. AbbVie Inc. et al
1:20-cv-01128                   Flores et al v. Motorola Solutions Inc. et al
1:20-cv-04349                   United States of America v. Fong
1:20-cv-06474                   Certain Underwriters at Lloyd's v. Koninklijke Luchtvaart
                                Maatshappijn
1:21-cv-03443                   Cincinnati Insurance Company, The v. Corrosion
                                Monitoring Services, Inc. et al
1:21-cv-03696                   Kelecevic v. Hartford Life And Accident Insurance
                                Company
1:22-cv-00070                   De Lion v. CRRC Sifang America, Inc.
1:22-cv-01445                   Nirvana, L.L.C. v. The Partnerships and Unincorporated
                                Associations Identified on Schedule "A"
1:22-cv-02668                   Williams v. Penske Truck Leasing Co., L.P.
1:22-cv-04322                   Gogova v. Mayorkas et al
1:22-cv-04651                   Lane v. Meta Platforms Inc et al

Civil Cases Reassigned from Judge Norgle to Judge Valderrama

1:13-cv-06162                   Sanchez v. Brown et al
1:17-cv-09326                   Burgos v. Rojas, et al
1:19-cv-03164                   Xodus Medical Inc. et al v. U.S. Surgitech, Inc.
1:20-cv-05238                   Herrera v. United State Of America
1:21-cv-00652                   International Union of Operating Engineers, Local 150,
                                AFL-CIO v. Chicago Decking, Inc., an Indiana
                                Corporation/New Horizon Steel, LLC, an Illinois Limited
                                Liability Corporation, a Joint Venture et al
      1:21-cv-00722             International Union of Operating Engineers, Local 150,
                                AFL-CIO v. S & J Construction Co., Inc., an Illinois
                                Corporation et al
      1:21-cv-01377             International Union of Operating Engineers, Local 150,
                                AFL-CIO v. S & J Construction Co., Inc. et al
      1:21-cv-01816             International Union of Operating Engineers, Local 150,
                                AFL-CIO v. S & J Construction Co., Inc., an Illinois
                                Corporation et al
1:21-cv-05312                   Grubhub Inc. et al v. The Kroger Co. et al
1:21-cv-05644                   Cantore v. Health Resource Solutions, Inc.
1:22-cv-00418                   Taylor v. Metropolitan Life Insurance Company
1:22-cv-01887                   Sangster v. Experian Information Solutions, Inc. et al

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1:22-cv-03360                  Adams v. Batavia Container, Inc.
1:22-cv-03818                  Sunco International Inc. et al v. Jiangsu Sunco Boiler Co.,
                               Ltd. et al
1:22-cv-04291                  Global Values v. United States Small Business
                               Administration

Civil Cases Reassigned from Judge Norgle to Judge Wood

1:21-cv-05218                  Holmes v. City Of Chicago et al
1:13-cv-08012                  Schmalz v. Village Of North Riverside et al
1:18-cv-06068                  Vargas v. Wexford Health Sources, Inc. et al
       1:21-cv-05421           Vargas v. Gomez et al
1:19-cv-05981                  Martinez v. United States of America et al
1:20-cv-03740                  Bell v. Cunningham et al
1:21-cv-02961                  Oppenheimer v. First Step Trademarks, LLC et al
1:21-cv-05289                  Hanus v. Harting, Inc. of North America
1:22-cv-00585                  Valdez v. El Centro, Inc. et al
1:22-cv-02651                  SMART Local 265 Welfare Fund et al v. Albert J. Wagner
                               & Son, LLC
1:22-cv-03059                  Global IP Law Group, LLC v. Comcast Cable
                               Communications LLC et al
1:22-cv-04200                  Kujo, Inc. v. Hurtt Fabricating Corp.

Criminal Cases Reassigned from Judge Norgle to Judge Alonso

1:12-cr-00700                  USA v. Bates
1:18-cr-00794                  USA v. Sander
1:20-cr-00516                  USA v. Bergman
1:22-cr-00137                  USA v. Larry

Criminal Cases Reassigned from Judge Norgle to Judge Blakey

1:16-cr-00108                  USA v. Coon
1:18-cr-00309                  USA v. Love
1:19-cr-00019                  USA v. McKenzie
1:20-cr-00849                  USA v. Betancourt


Criminal Cases Reassigned from Judge Norgle to Judge Bucklo

1:10-cr-00619                  USA v. Sims
1:16-cr-00226                  USA v. Mitchell
1:19-cr-00028                  USA v. Mudd et al
1:20-cr-00923                  USA v. Eady

Criminal Cases Reassigned from Judge Norgle to Judge Chang

1:01-cr-00086                  USA v. Carpenter et al
1:19-cr-00162                  USA v. Gates
1:19-cr-00875                  USA v. Guice


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1:21-cr-00633                   USA v. Anania

Criminal Cases Reassigned from Judge Norgle to Judge Coleman

1:04-cr-00372                   USA v. Vallone et al
1:16-cr-00434                   USA v. Fong et al
1:19-cr-00071                   USA v. Walker
1:21-cr-00223                   USA v. Cade

Criminal Cases Reassigned from Judge Norgle to Judge Durkin

1:12-cr-00498                   USA v. Johnson
1:16-cr-00200                   USA v. Aguiar et al
1:20-cr-00458                   USA v. Eskafyan et al
1:22-cr-00097                   USA v. Campbell

Criminal Cases Reassigned from Judge Norgle to Judge Ellis

1:14-cr-00579                   USA v. Vargas
1:18-cr-00403                   USA v. Barfield et al
1:21-cr-00636                   USA v. Boykin
1:22-cr-00211                   USA v. Joh

Criminal Cases Reassigned from Judge Norgle to Judge Gettleman

1:03-cr-00523                   USA v. Bernard et al
1:10-cr-00789                   USA v. Hinton et al
1:20-cr-00117                   USA v. Ingram
1:22-cr-00021                   USA v. Balthazar

Criminal Cases Reassigned from Judge Norgle to Judge Guzman

1:19-cr-00499                   USA v. Brown
1:21-cr-00389                   USA v. Medellin

Criminal Cases Reassigned from Judge Norgle to Judge Kendall

1:15-cr-00215                   USA v. Niggemann
1:17-cr-00136                   USA v. Rangel
1:20-cr-00745                   USA v. Beam Suntory Inc.
1:22-cr-00336                   USA v. Shepherd

Criminal Cases Reassigned from Judge Norgle to Judge Kennelly

1:97-cr-00169                   United States of America v. Meachum et al
1:07-cr-00270                   USA v. Walker et al
1:17-cr-00518                   USA v. Mack, et al
1:19-cr-00472                   USA v. Hopkins
1:21-cr-00469                   USA v. Thompson



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Criminal Cases Reassigned from Judge Norgle to Judge Kness

1:17-cr-00289                  USA v. Marshall et al
1:19-cr-00428                  USA v. Brannon
1:21-cr-00282                  USA v. Braxton
1:20-cr-00434                  USA v. Wright

Criminal Cases Reassigned from Judge Norgle to Judge Lefkow

1:18-cr-00310                  USA v. Savla
1:21-cr-00333                  USA v. Celestino Barahona-Serrano, et.al.

Criminal Cases Reassigned from Judge Norgle to Judge Leinenweber

1:17-cr-00331                  USA v. Terry et al
1:21-cr-00293                  USA v. Valle

Criminal Cases Reassigned from Judge Norgle to Judge Pacold

1:96-cr-00407                  USA v. Varela et al
1:06-cr-00145                  USA v. Quinn
1:11-cr-00380                  USA v. Hawk et al
1:14-cr-00287                  USA v. Barr III et al
1:20-cr-00385                  USA v. Brown, et al

Criminal Cases Reassigned from Judge Norgle to Judge Rowland

1:08-cr-00746                  USA v. Zambrano et al
1:18-cr-00041                  USA v. Cunningham
1:20-cr-00517                  USA v. Elia
1:21-cr-00673                  USA v. Cano
1:22-cr-00174                  USA v. Davis et al

Criminal Cases Reassigned from Judge Norgle to Judge Seeger

1:06-cr-00102                  USA v. Watkins et al
1:11-cr-00156                  USA v. Zuniga
1:13-cr-00642                  USA v. Elbanna et al
1:19-cr-00803                  USA v. Valentine
1:20-cr-00352                  USA v. Aniukwu et al

Criminal Cases Reassigned from Judge Norgle to Judge Shah

1:91-cr-00703                  USA v. Lyon, et al
1:07-cr-00550                  USA v. McDonald
1:19-cr-00424                  USA v. Crayton et al
1:19-cr-00582                  USA v. Izsak
1:21-cr-00558                  USA v. Zmijewski




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Criminal Cases Reassigned from Judge Norgle to Judge Tharp

1:15-cr-00339                  USA v. Stelmachowski et al
1:20-cr-00848                  USA v. Solis
1:21-cr-00273                  USA v. Smith
1:22-cr-00366                  USA v. Zayed

Criminal Cases Reassigned from Judge Norgle to Judge Valderrama

1:04-cr-00066                  USA v. Valentine et al
1:10-cv-00348                  USA v. Smith
1:20-cr-00149                  USA v. Wong
1:21-cr-00671                  USA v. Wober

Criminal Cases Reassigned from Judge Norgle to Judge Wood

1:06-cr-00330                  USA v. Sirtoff et al
1:12-cr-00094                  USA v. Villagran
1:22-cr-00073                  USA v. Bychowski




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